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FORM nhgnrlp (Rev. 06/15)
                                  UNITED STATES BANKRUPTCY COURT
                                         Northern District of Florida
                                           Tallahassee Division

In Re: Brian Walter Ranallo                                       Bankruptcy Case No.: 18−40390−KKS
       SSN/ITIN: xxx−xx−8698
        Debtor
       Mary Cynthia Ranallo                                       Chapter: 7
       SSN/ITIN: xxx−xx−2764                                      Judge: Karen K. Specie
        Joint Debtor


                                       Notice of Non Evidentiary Hearing

   PLEASE TAKE NOTICE that a hearing to consider and act upon the following will be held at 110 E. Park
Avenue, 2nd Floor Courtroom, Tallahassee, FL 32301, on August 22, 2019, at 10:30 AM, Eastern Time.

        38 − Motion to Sell Property Free and Clear of Liens under Section 363(f) by private sale to Luciana
        Ximena Hornung and Maria Jesus Mendiola Chavez de Hornung [fee amount $181] filed by Mary
        W. Colon on behalf of Mary W. Colon. (Colon, Mary)

Dated: July 2, 2019                                       FOR THE COURT
                                                          Traci E. Abrams, Clerk of Court
                                                          110 E. Park Ave., Ste. 100
                                                          Tallahassee, FL 32301


SERVICE: Mary W. Colon shall serve this document pursuant to the applicable Rules and file a certificate of service
within three (3) days.
